                      Case 1:21-mj-00042-RMM Document 1 Filed 01/13/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                              v.                                   )
                      Klete Derik Keller
                                                                   )      Case No.
                      DOB: XXXXXXXX                                )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                     in the
                       District of           Columbia          , the defendant(s) violated:

Code Section                                    Offense Description
                                                Obstructing Law Enforcement Engaged In Official Duties Incident to Civil
18 U.S.C. 231(a)(3)                             Disorder

                                                Knowingly Entering or Remaining in any Restricted Building or Grounds
18 U.S.C. 1752 (a)(1)&(2)                       Without Lawful Authority

40 U.S.C. 5104(e)(2)(D)(E)&(G)                  Violent Entry and Disorderly Conduct on Capitol Grounds

         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                    Special Agent Matthew Barofsky, FBI
                                                                                               Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                                                          Robin M. Meriweather
                  01/13/2021                                                                              2021.01.13 10:50:45 -05'00'
Date:
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
